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                   10
                                                   UNITED STATES DISTRICT COURT
                   11
                                                  NORTHERN DISTRICT OF CALIFORNIA
                   12
                                                           OAKLAND DIVISION
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                   14
                        In re Google RTB Consumer Privacy              Master File No. 4:21-cv-02155-YGR-VKD
                   15   Litigation,
                                                                       GOOGLE LLC’S REVISED
                   16                                                  ADMINISTRATIVE MOTION TO SEAL
                                                                       PORTIONS OF THE MAY 16, 2023 HEARING
                   17   This Document Relates to: all actions          TRANSCRIPT

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ATTORNEYS AT LAW                                                                           GOOGLE’S REVISED ADMIN
 SAN FRANCISCO                                                                             MOT. TO FILE UNDER SEAL
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                    1   I.       INTRODUCTION

                    2            Pursuant to Northern District of California Civil Local Rules 7-11 and 79-5(f)(3) and the

                    3   Court’s order at ECF No. 564, Google LLC (“Google”) respectfully submits this Revised

                    4   Administrative Motion (“Motion”) to Seal Portions of the May 16, 2023 Hearing Transcript

                    5   (“Hearing Transcript”), attached as Exhibit A to the concurrently-filed Declaration of Whitty

                    6   Somvichian (“Somvichian Declaration”).

                    7            Google respectfully seeks to seal limited, narrowly-tailored portions of the Hearing

                    8   Transcript and address the issues noted by the Court, see ECF No. 564 (the “Initial Order”) at 2-3,

                    9   and raised by Plaintiffs’ Response to Google’s initial motion to seal the Hearing Transcript, ECF

                   10   No. 563 (“Plaintiffs’ Response”). Contrary to the assertions in Plaintiffs’ Response, the portions

                   11   that Google seeks to seal contain technical details about highly sensitive data logs and data systems

                   12   as well as descriptions of account identifiers and security measures to protect the confidentiality of

                   13   account identifiers associated with these logs. As set forth below and in the Somvichian

                   14   Declaration, this information is highly confidential and sensitive to the company. Accordingly,

                   15   Google hereby requests that the Court enter an order sealing the information identified in Google’s

                   16   concurrently-filed proposed order, which Google has further narrowed in response to the Initial

                   17   Order.

                   18   II.      LEGAL STANDARD

                   19            A party seeking to seal material must “establish[] that the document, or portions thereof,

                   20   are privileged, protectable as a trade secret or otherwise entitled to protection under the law” (i.e.,

                   21   that the information is “sealable”). Civ. L.R. 79-5(b). Further, the sealing request must also “be

                   22   narrowly tailored to seek sealing only of sealable material.” Id.

                   23            The Ninth Circuit applies two tests to determine whether a party is entitled to file certain

                   24   documents under seal: a “compelling reasons” test for dispositive motions and a “good cause” test

                   25   for motions “not related, or only tangentially related, to the merits of a case.” Ctr. For Auto Safety

                   26   v. Chrysler Grp., LLC, 809 F.3d 1092, 1097, 1099 (9th Cir. 2016) (citations omitted); Kamakana

                   27   v. City & County of Honolulu, 447 F.3d 1172, 1179–80 (9th Cir. 2006).

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                    1          As the Court noted, the Hearing Transcript at issue relates to a non-dispositive discovery

                    2   motion, and thus the good cause standard applies here. Initial Order at 1; see also, e.g., Pieterson

                    3   v. Wells Fargo Bank, N.A., No. 17-cv-02306-EDL, 2018 WL 10362631, at *2 (N.D. Cal. Nov. 8,

                    4   2018) (“Because the sealing requests were made in conjunction with a nondispositive discovery

                    5   motion, a showing under the good cause standard will suffice.”); Calhoun v. Google, No. 20-cv-

                    6   05146, ECF No. 327, at 2 (N.D. Cal. Sept. 30, 2021) (finding the “good cause” standard applies

                    7   “because the information the parties seek to seal was submitted to the Court in connection with

                    8   discovery-related motions, rather than a motion that concerns the merits of the case.”). The good

                    9   cause standard “requires a ‘particularized showing,’ . . . that ‘specific prejudice or harm will result’

                   10   if the information is disclosed.” Heath v. Google LLC, No. 15-cv-01824-BLF, 2018 WL 4561773,

                   11   at *1 (N.D. Cal. Sept. 20, 2018) (quoting Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307

                   12   F.3d 1206, 1210–11 (9th Cir. 2002)).

                   13   III.   GOOD CAUSE EXISTS TO SEAL PORTIONS OF THE HEARING TRANSCRIPT
                   14          Google asks this Court to seal portions of the Hearing Transcript that reflect details related

                   15   to Google’s highly sensitive data logs and data systems, as well as descriptions of account

                   16   identifiers and security protections to safeguard the confidentiality of account identifiers associated

                   17   with these logs. In the Initial Order, the Court raised noted issues that it invited Google to address

                   18   in this Motion along with the matters raised in Plaintiffs’ Response, and Google addresses each of

                   19   those in turn here.

                   20          First, Google respectfully submits that the courtroom’s public accessibility during the

                   21   hearing at issue is not inconsistent with its arguments for confidentiality, and that the Court

                   22   expressly contemplated sealing procedures after the fact as necessary. See Initial Order at 2.

                   23   Although the courtroom was not sealed, “no members of the public were present,” id., and the Court

                   24   instructed and the parties agreed during the hearing that “if there is something that’s confidential,

                   25   we can deal with it at the transcript level” as Google seeks to do here, Hearing Tr. at 18-25.

                   26          Second, the timing of Google’s prior motion to seal the Hearing Transcript resulted from

                   27   Google’s good-faith interpretation of this Court’s General Order No. 59, which governs the

                   28   treatment of certain confidential information in hearing transcripts. That order enumerates five
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                    1   categories of “specific personal data identifiers” that “must be redacted”: “social security numbers;

                    2   financial account numbers; names of minor children; dates of birth; and, home addresses of

                    3   individuals.” General Order No. 59. General Order No. 59 likewise refers to Federal Rule of Civil

                    4   Procedure 5.2, which mandates redaction of a similar set of information. See General Order No. 59

                    5   ¶ 4 (“The format of redactions shall comply with Federal Rule of Civil Procedure 5.2.”). Neither

                    6   General Order No. 59 nor Rule 5.2 establish a procedure for redaction or sealing of other

                    7   information that a party may seek to maintain under seal for other reasons; rather, General Order

                    8   No. 59 specifies that “[a]ny transcript of a sealed proceeding shall be filed in accordance with

                    9   whatever procedure is in effect for the filing of sealed documents at the time of filing.” General

                   10   Order No. 59 ¶ 1. As a result, Google understood General Order No. 59’s requirement that “the

                   11   requesting party must file a ‘notice of intent to request redaction’ within 5 days of the transcript’s

                   12   filing” and a subsequent motion “within 21 days of the transcript’s filing,” Initial Order at 2

                   13   (quoting General Order No. 59 ¶¶ 3, 4), as applying exclusively to the five categories of “personal

                   14   data identifiers” listed in the order. See Silvers v. Sony Pictures Ent., Inc., 402 F.3d 881, 885 (9th

                   15   Cir. 2005) (en banc) (“[W]hen a statute designates certain persons, things, or manners of operation,

                   16   all omissions should be understood as exclusions.” (citation omitted)).

                   17          Because none of the five General Order No. 59 categories are at issue here, and because the

                   18   Court has previously granted requests to seal transcripts that Google submitted outside of the

                   19   General Order No. 59 procedures, Google believed that its motion to seal the sensitive corporate

                   20   and technical information in the Hearing Transcript was not governed by General Order No. 59.

                   21   Specifically, Google understood that its motion to seal was due before the expiration of the 90-day

                   22   period during which ECF access to the transcript is restricted and that no five-day notice of intent

                   23   to request redaction or subsequent 21-day filing was required. (See, e.g., ECF Nos. 526, 427, 370).

                   24   Moreover, Google had no reason to believe that anyone but counsel accessed the Hearing

                   25   Transcript, since there is no indication that any third parties submitted an order for purchase during

                   26   the 90-day period, and accordingly believed that the Hearing Transcript’s confidentiality had been

                   27   maintained during that period. Google appreciates the Court’s clarification of General Order No.

                   28   59 and understands that, moving forward, the Court will require the parties to submit a Notice of
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                    1   Intent to Redact within five days for any proposed redactions to a hearing transcript, regardless of

                    2   the type of confidential information being sealed. ECF No. 564.

                    3          Third, good cause exists to seal the portions of the Hearing Transcript at issue, and in

                    4   response to the Initial Order, Google has adduced further evidence in support of this fact. 1 The

                    5   Somvichian Declaration sets forth in additional detail the highly sensitive nature of the data logs,

                    6   data systems account identifiers, and security measures whose references Google seeks to maintain

                    7   as confidential. (Somvichian Decl. ¶ 5.) Google maintains this information as confidential in the

                    8   ordinary course of its business and does not generally disclose it to the public. (Id.) Public

                    9   disclosure of this information would reveal Google’s internal strategies, system designs, and

                   10   business practices for operating and maintaining its important proprietary services. (Id. ¶ 6.) This

                   11   Court has previously granted Google’s motions to seal detailing its data logs and their functionality

                   12   as well as references and descriptions of the associated account identifiers. (See, e.g., ECF Nos.

                   13   524, 527, 531, 540.)

                   14          As Google has also noted in prior motions to seal, public disclosure of such technical details

                   15   creates a serious cybersecurity risk as third parties may seek to use this information to compromise

                   16   Google’s data sources, including data logs. (Somvichian Decl. ¶ 8.) Such threats are not merely

                   17   hypothetical: Google has been the target of attacks on its internal data infrastructure. (Id. ¶ 7.)

                   18   Specifically, public disclosure of the information that Google seeks to seal could be used by bad

                   19   actors to further infer additional information about Google users that Google stores in its proprietary

                   20   logs. Moreover, bad actors could also leverage the descriptions of Google’s efforts to safeguard the

                   21   confidentiality of account holder information to circumvent those protections. (Id. ¶ 8.) Further, if

                   22   disclosed, bad actors could use the names of Google’s logs and potentially connect pieces of

                   23   information in order to gain access to other documents or information that reference the same

                   24   proprietary logs. (Id.) Courts in this district routinely grant sealing requests where the integrity of

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                          Despite months of acquiescence, Plaintiffs recently and for the first time challenged Google’s use
                   26   of an attorney declaration to seal confidential information in Plaintiffs’ class certification filings.
                        See ECF No. 567. While Google believes Plaintiffs’ position is meritless and a tactic designed
                   27   solely to impose undue burden on Google, those arguments do not even apply to this motion, which
                        is governed by the good cause standard rather than the compelling need standard. See supra at 1-
                   28   2. Nevertheless, if the Court believes additional evidence would assist its consideration of this
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                        sealing motion, Google is happy to respond to any request from the Court.
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                    1   data systems and infrastructures could be jeopardized. See, e.g., In re Google Inc. Gmail Litig., No.

                    2   13-md-02430-LHK, 2013 WL 5366963, at *3 (N.D. Cal. Sept. 25, 2013) (sealing material that “if

                    3   made public Google contends could lead to a breach in the security” of Google’s systems); Free

                    4   Range Content, Inc. v. Google Inc., No. 14-cv-02329-BLF, ECF No. 192, at 3-9 (N.D. Cal. May 3,

                    5   2017) (granting motion to seal certain sensitive business information related to Google’s processes

                    6   and policies to ensure the integrity and security of a different advertising system). As such,

                    7   Google’s sealing requests are narrowly tailored to prevent bad actors from inferring information

                    8   about Google users or obtaining sufficient information that would make it easier to piece together

                    9   otherwise unconnectable facts.

                   10          Plaintiffs complain that certain terms that Google initially sought to seal appear elsewhere

                   11   in the public record. See ECF No. 563 at 3. Unlike the passing references to the account identifiers

                   12   in the portions of public filings Plaintiffs cite, the Hearing Transcript contained specific details

                   13   about this information’s use and Google’s security efforts to preserve its confidentiality.

                   14   Nevertheless, for the avoidance of any doubt, Google has further narrowed its proposed redactions

                   15   to the Hearing Transcript to unseal terms that appear elsewhere and redact only confidential details.

                   16   Specifically, the information Google seeks to seal in this motion reflect descriptions and

                   17   characterizations of data logs, the associated account identifiers, and systems and security measures

                   18   that have not been publicly revealed in other litigation or elsewhere. In short, Google has taken

                   19   every possible step to ensure its proposal does not “unduly limit[] public access.” ASUS Computer

                   20   Int’l v. Round Rock Research, LLC, No. 12-cv-02099-JST-NC, 2014 WL 2810193, at *2 (N.D. Cal.

                   21   June 20, 2014).

                   22   IV.    CONCLUSION
                   23          For the foregoing reasons, Google respectfully requests the Court grant the Motion and seal

                   24   the specified portions of the Hearing Transcript. Google will ensure prompt sealing proposals

                   25   following each proceeding.

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                    1   Dated: August 28, 2023                      COOLEY LLP

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